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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :    CRIMINAL NO. 21-cr-609
                                                 :
              v.                                 :
                                                 :    VIOLATIONS:
 JEREMY BROWN,                                   :
                                                 :    18 U.S.C. § 1752(a)(1)
                       Defendant.                :    (Entering and Remaining in a Restricted
                                                 :    Building or Grounds)
                                                 :    18 U.S.C. § 1752(a)(2)
                                                 :    (Disorderly and Disruptive Conduct in a
                                                 :    Restricted Building or Grounds)
                                                 :
                                                 :


                Notice Regarding Why Case Has Been Designated As Related
                         To United States v. Caldwell, et al., 21-cr-28

       The United States respectfully files this notice, in response to the Court’s Minute Order

dated October 4, 2021, as to why the present case has been designated as related to United States

v. Caldwell, 21-cr-28. Per Local Rule 57.12 (a)(1), criminal cases are deemed related when (i) a

superseding indictment has been filed, or (ii) more than one indictment is filed or pending against

the same defendant or defendants, or (iii) prosecution against different defendants arises from a

common wiretap, search warrant, or activities which are a part of the same alleged criminal event

or transaction. The present case, as it is currently charged, includes evidence from at least one

overlapping cooperating defendant who has been charged in 21-cr-28. Further, the present case

also involves specific electronic evidence, including encrypted messaging applications, showing

the planning, transportation and movement of common individuals and weapons in preparation for

January 6, that overlaps with the Caldwell case. Accordingly, the United States submits that these

two matters arise from common activities which are a part of the same alleged criminal event.
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       Therefore, the United States respectfully seeks to relate the present case to United States v.

Caldwell, 21-cr-28.

                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              ACTING U.S. ATTORNEY


                                      By:     /s/ Louis Manzo
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